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                       EXHIBIT D
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Stein, Micah D.

From:                             Aundrea K Gulley <agulley@gibbsbruns.com>
Sent:                             Tuesday, December 04, 2018 12:06 PM
To:                               SERVICE-EXTERNAL-DMS-MDL@lists.kellogghansen.com
Cc:                               Miller, Britt M.; Reynolds Team
Subject:                          In re DMS MDL: January 2019 Depositions


**EXTERNAL SENDER**

Counsel,

Thank you for confirming Mr. Brockman’s deposition for January 16th and 17th. We can now confirm Mr. Whitworth for
January 18. We also appreciate you providing a date for Mr. Kirby’s deposition, though we note, again, that the date
was provided over a month after Defendants requested one and for a date six and a half weeks after the date originally
requested. Neither is in compliance with the Deposition Protocol entered by the Court and Defendants reserve their
rights. In any event, we will accept that date in order to keep this process moving.

We are working on your requests for Defendants’ witnesses for January and expect to be back to you within the time
allotted by the Deposition Protocol.

As to your request that Defendants identify the Plaintiff witnesses they would like to depose in January, our ability to
meaningfully proceed with depositions is being materially impacted by the deficiencies in a number of Plaintiffs’
document productions (see, e.g., 11/28/18 Letter from A. Marovitz re: Cox production; 12/3/18 Letter from L. Caseria re:
MVSC production)—as highlighted in the depositions taken to date. Nonetheless, reserving all of their rights,
Defendants request the following:

        Paul Whitworth (Cox) – holdover from December – January 18 (Atlanta) – CONFIRMED
        Alex Eckelberry (AutoLoop) – January 23
        Napa Bulusu (MVSC) – January 25
        Chris Kirby (Authenticom) – holdover from December – January 30 (Detroit) - CONFIRMED.

Per the Protocol, please let us know no later than December 11 whether the dates for Mssrs. Eckelberry and Bulusu are
acceptable to Plaintiffs or, if not, what other dates (within 14 days of the requested date) are available.

In addition to the above witnesses, Defendants intend to take a 30(b)(6) deposition of Continental Motors* in late
January (preferably January 29). Defendants will issue the topics for the notice no later than early next week so that
Plaintiffs can identify the witness and confirm availability.

Finally, for purposes of subpoenas to the following third parties, please let us know by close of business on Thursday,
December 6, if they are represented by Kellogg (or other Plaintiff’s counsel):

    1.   The Presidio Group
    2.   Travis Robinson
    3.   Steve Dolezel
    4.   Russel Gentry

Regards – Andi and Britt



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* Continental Motors, we understand, includes the following affiliated entities: ACA Motors, Inc. d/b/a Continental
Acura; Continental Autos, Inc. d/b/a Continental Toyota; Continental Classic Motors, Inc. d/b/a Continental Autosports;
5800 Countryside, LLC d/b/a Continental Mitsubishi; HDA Motors, Inc. d/b/a Continental Honda; H & H Continental
Motors, Inc. d/b/a Continental Nissan; Naperville Zoom Cars, Inc. d/b/a Continental Mazda; and NV Autos, Inc. d/b/a
Continental Audi.



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